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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    WEBVENTION LLC                                 §
                                                   §
           Plaintiff,                              §
                                                   §
    v.                                             §   CIVIL ACTION NO. 2:10-cv-410
                                                   §
    ADIDAS AMERICA INC., et al.                    §   JURY TRIAL DEMANDED
                                                   §
           Defendants.                             §


                                               ORDER

           In consideration of Plaintiff Webvention LLC’s Motion for Dismissal of all claims with

    prejudice asserted against defendant Harris Corporation, the Motion for Dismissal is

    GRANTED, and it is ORDERED, ADJUDGED AND DECREED that all claims asserted in this

    suit between Plaintiff and Defendant is hereby dismissed with prejudice, subject to the terms of

    that certain agreement entitled "SETTLEMENT AGREEMENT" dated March 25, 2011.
.
           It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

    incurred them.

           SO ORDERED.

           SIGNED this 4th day of April, 2011.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE
